   Case 1:17-mc-00151-LPS Document 261 Filed 05/09/21 Page 1 of 2 PageID #: 7469




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                                              May 9, 2021



   VIA ELECTRONIC FILING

   The Honorable Leonard P. Stark
   Chief United States District Judge
   J. Caleb Boggs Federal Building
   844 North King Street
   Wilmington, Delaware 19801

                  Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                                       No. 1:17-mc-00151-LPS

   Dear Chief Judge Stark:

                  We represent the Intervenor Bondholders,1 which were permitted to intervene in
   and made parties to the Crystallex Asset Proceeding by this Court’s Order dated December 12,
   2019. D.I. 154. We respectfully request that the Court defer consideration of the Proposed Order
   Regarding Special Master filed with the Court earlier this Sunday evening, May 9, 2021 (D.I. 260-
   1, the “Proposed Order”), to permit the Intervenor Bondholders, the other parties, and the Special
   Master to meet and confer regarding its contents.

                  The Proposed Order, in the form submitted to the Court, was not shared with the
   Intervenor Bondholders before its submission. The Proposed Order reflects substantive changes
   from the most recent draft shared with the Intervenor Bondholders. In particular, the Proposed
   Order, in contrast to prior versions, includes a defined term “Parties” that excludes the Intervenor
   Bondholders. D.I. 260-1, at 2 n.1. That definition, in turn, would exclude the Intervenor
   Bondholders from the “Parties” to which the Proposed Order grants important rights, including the

   1
       The “Intervenor Bondholders” are Blackrock Financial Management, Inc. and its affiliates, on
       behalf of certain client funds and accounts under management, and Contrarian Capital
       Management, L.L.C., also on behalf of client funds and accounts that it manages, as holders of
       bonds issued by Petróleos de Venezuela, S.A.
Case 1:17-mc-00151-LPS Document 261 Filed 05/09/21 Page 2 of 2 PageID #: 7470



The Honorable Leonard P. Stark                                                             2
Chief United States District Judge


right to participate in the meet-and-confer process leading to any Sales Procedure Order and the
right to file objections before this Court. See D.I. 260-1 ¶¶ 3-6, 8-10, 19.

                We have requested a meet and confer with the other parties and the Special Master
to address this issue. In the interim, we respectfully request that Your Honor refrain from entering
the Proposed Order that was submitted earlier this evening.

               As always, counsel remain available at the convenience of the Court.


                                                     Respectfully submitted,

                                                     /s/ Daniel A. Mason

                                                     Daniel A. Mason
cc: Counsel of Record (Via ECF)
